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 7   Attorneys for Defendants MaxLinear, Inc.,
     Kishore Seendripu, and Steven Litchfield
 8
                                  UNITED STATES DISTRICT COURT
 9
                             SOUTHERN DISTRICT OF CALIFORNIA
10

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12   WATER ISLAND EVENT-DRIVEN FUND,                Case No. 3:23-cv-01607-LAB-WVG
     on Behalf of Itself and All Others Similarly
13   Situated,                                      Assigned to Judge Larry Alan Burns
                                                    Referred to Magistrate Judge William V.
14                   Plaintiff,                     Gallo

15         v.                                       NOTICE OF APPEARANCE OF
                                                    JORDAN ETH
16   MAXLINEAR, INC., KISHORE SEENDRIPU,
     and STEVEN LITCHFIELD,                         Complaint Filed: Aug. 31, 2023
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                     Defendants.
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     NOTICE OF APPEARANCE OF JORDAN ETH                         Case No. 3:23-cv-01607-LAB-WVG
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 1          TO THE CLERK OF THE COURT, ALL PARTIES, AND THEIR COUNSEL OF

 2   RECORD:

 3          PLEASE TAKE NOTICE of the appearance of Jordan Eth of the firm Morrison &

 4   Foerster LLP, as counsel of record for and on behalf of Defendants MaxLinear, Inc., Kishore

 5   Seendripu, and Steven Litchfield in the above-referenced action. Defendants respectfully request

 6   that all pleadings and other documents be addressed to and served upon their counsel as follows:

 7                          Jordan Eth
                            MORRISON & FOERSTER LLP
 8                          425 Market Street
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 9                          Telephone: 415.268.7000
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10                          JEth@mofo.com
11

12          Jordan Eth is licensed to practice law in the State of California, is a member in good

13   standing of the California State Bar, and is admitted to practice before the United States District

14   Court of the Southern District of California.

15

16   Dated: September 21, 2023                       MORRISON & FOERSTER LLP
17

18                                                   By: /s/ Jordan Eth
                                                            JORDAN ETH
19
                                                     Attorney for Defendants MaxLinear, Inc.,
20                                                   Kishore Seendripu, and Steven Litchfield
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     NOTICE OF APPEARANCE OF JORDAN ETH                                   Case No. 3:23-cv-01607-LAB-WVG
